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                         IN THE UNITED STATES DISTRICT COURT                             OCT 3 I 2017
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION                                  CLERK. U.S.          COURT
                                                                                                    VA




UNITED STATES OF AMERICA



V.                                                   CRIMINAL CASE NO. 3:17-CR-00080-8



VINCENT DEMOND ANDERSON,
                       Defendant.



                                              ORDER


        This matter is before the Court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge'sacceptance of the Defendant's pleaof guilty

to the specified charge in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11;that the Defendant

was given notice of the right to file specific objections to the report and recommendation that has

been submitted as a result of the proceeding; and it further appearing that no objection has been

asserted within the prescribed time period, it is hereby

        ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED

and the Defendant is found guilty of Count ONE (1) of the Indictment.




                                                      Robert E. Payne
                                                                       /s/   JiLA
                                                      Senior United States District Judge
Date:   October 31, 2017
Richmond, Virginia
